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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

IN RE: FORD MOTOR CO. F-150
AND RANGER TRUCK FUEL                               Case No.: 19-md-02901
ECONOMY MARKETING AND
SALES PRACTICES LITIGATION                          Hon. Sean F. Cox
This Document Relates To: All Actions


              STIPULATED ORDER EXTENDING DEADLINES

      The matter comes before the Court upon the following Stipulation of the

undersigned Parties, who state:

      1.     In this Multidistrict Litigation, the Court ordered Plaintiffs to file a

Consolidated Amended Master Complaint on January 27, 2020, and Ford to respond

by March 27, 2020.

      2.     On January 27, 2020, Plaintiffs filed a 557-page Class Action

Complaint (CAC) with 2,006 paragraphs, 20 exhibits (spanning 132 pages), and 121

counts on behalf of plaintiffs from 30 states.

      3.     Circumstances attendant to the unprecedented COVID-19 global

pandemic prevent or significant hinder Ford’s and its counsels’ ability to comply

with the current briefing schedule.

      4.     COVID-19 has impacted the world in many, and largely unexpected,

ways. The World Health Organization declared COVID-19 a global pandemic,

emphasizing it is “not just a public health crisis[;] it is a crisis that will touch every

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sector.”1 The Centers for Disease Control and Prevention has recommended travel

restrictions and social distancing in an effort to decrease the spread of this global

pandemic.2 On March 13, 2020, the President of the United States proclaimed that

the COVID-19 outbreak constitutes a national emergency.3 And Michigan, like

many other states, has issued a statewide shelter-in-place order, restricting non-

essential business operations.4

        5.    Many businesses, including Ford and the law firms representing both

parties in this case, have implemented efforts to aid in preventing spread of the

disease, including instituting travel bans, and moving to a remote workforce.

        6.    These efforts are important to address the safety of individuals, mitigate

against the spread of disease, and respond to changing economic circumstances.

        7.    The COVID-19 response measures also result in Ford’s workforce and

counsel having reduced or insufficient access, or sometimes no access, to equipment,

information, and personnel reasonably necessary to meet the current briefing

deadlines, especially considering the complex legal and factual analysis required to



1
   See https://www.who.int/dg/speeches/detail/who-director-general-s-opening-
remarks-at-the-media-briefing-on-covid-19---11-march-2020.
2
     See Interim Guidance for Businesses, February 26, 2020.
3
   See https://www.whitehouse.gov/presidential-actions/proclamation-declaring-
national-emergency-concerning-novel-coronavirus-disease-covid-19-outbreak/.
4
   See https://www.michigan.gov/whitmer/0,9309,7-387-90499_90705-522626--
,00.html.

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address a 557-page complaint with 121 claims under 30 different state laws.

        8.    It’s not just Ford. Businesses in and outside Michigan are being forced

to focus on critical supply chain and workforce disruptions,5 while law firms and

lawyers respond to their clients’ COVID-19-related emergency questions—like

which contracts are still in force and enforceable,6 how to respond to employee

questions and concerns, and in what ways the patchwork of shelter-in-place orders

alter obligations in Michigan, the United States, and around the world.7 “[L]awyers

are working around the clock to help clients navigate the uncharted legal waters

sparked by the rapidly spreading COVID-19,”8


5
   See https://www.forbes.com/sites/christianweller/2020/03/19/what-we-know-
about-the-economic-impact-of-the-coronavirus-and-how-that-should-guide-
policy/#2047dc8a375f (“Governments, businesses and families respond to the
pandemic in unprecedented ways, massively and necessarily disrupting the
economy in the process.”);
   https://www.morningstar.com/articles/974585/will-supply-chain-disruptions-
and-delayed-capital-spending-be-material (“Supply-side disruptions are a
significant risk amid the coronavirus pandemic.”);
   https://www.machinedesign.com/community/article/21127051/measuring-
covid19s-impact-on-the-worlds-supply-chains (“For a majority of U.S. businesses
… lead times have doubled, and that shortage is compounded by the shortage of air
and ocean freight options to move product to the United States – even if they can
get orders filled.”).
6
  See https://www.pymnts.com/coronavirus/2020/covid-19-ripple-effects-force-
majeure/.
7
   See https://www.michbar.org/News/NewsDetail/nid/5671/FAQ-About-COVID-
19-from-Michigan-Lawyers.
8
   See https://www.abajournal.com/web/article/lawyers-and-law-firms-say-they-
are-inundated-with-coronavirus-related-queries.


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        9.    And law firms are businesses and employers, too. Firms—including

the undersigned—are themselves responding to the needs of their employees, the

disruptions to their own supply chains, the ever-changing legal landscape at the

federal and state level, and “the pandemic’s long-term economic impacts that could

boost demand for some legal services, while depressing the market for others.”9

        10.   Remote operations of businesses and law firms have solved many

problems, but created some new difficulties. Physical equipment and information

can be impossible or not feasible to reach. Transition to remote operations creates

inefficiencies in establishing new ways to complete old work. Time continues to be

lost to over-taxed internet, phone, and tele-conferencing services.10 And now-

remote workforces are over-taxed, too, as they juggle home-working, home-

schooling, and in some cases, home-caregiving.11



9
   See https://www.abajournal.com/web/article/lawyers-and-law-firms-say-they-
are-inundated-with-coronavirus-related-queries;
   https://www.nytimes.com/2020/03/21/business/economy/coronavirus-
recession.html (“The American economy is facing a plunge into uncharted
waters.”).
10
   See https://www.the-sun.com/lifestyle/tech/576367/zoom-down-in-mysterious-
outage-as-video-calling-app-stops-working-around-the-world/;
     https://www.theregister.co.uk/2020/03/16/zoom_teams_outage/
11
   See https://www.detroitnews.com/story/news/education/2020/03/23/home-
schooling-challenges-michigan-students-parents/5072405002/;
   See, e.g., https://www.cdc.gov/coronavirus/2019-ncov/prepare/managing-stress-
anxiety.html (coping with stresses of coronavirus).


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      11.    The affects are likewise hitting the courts. The state courts of Michigan

have declared that “any day that falls during the state of emergency” is not included

for purposes of counting time for initial-pleading and initial-motion deadlines.12

      12.    Federal courts are predicting at least a three-month disruption.13

      13.    The U.S. Supreme Court has categorically extended the filing time for

certiorari petitions and directed its Clerk to grant reasonable motions for extensions

“as a matter of course” if related to COVID-19 issues—reflecting the Court’s

judgment that “good cause” exists to give all potential petitioners the benefit of more

time. See Order (U.S. S. Ct. 2020), https://bit.ly/2U9GQLi; see also 28 U.S.C.

2101(c) (permitting extension of petition deadline only for 60 days, and only “for

good cause shown”).

      14.    This Court has also altered its operations, with court chambers and staff

prioritizing criminal matters, while fielding calls from affected litigants.         See

http://www.mied.uscourts.gov/pdffiles/20AO021.pdf.         And on March 25, after a

court security officer tested positive for the COVID-19 virus, the General Services

Administration closed the courthouse to the public, “until the GSA can clean the



12
   See https://courts.michigan.gov/Courts/MichiganSupremeCourt/rules/court-
rules-admin-matters/Administrative%20Orders/2020-08_2020-03-
23_FormattedOrder_AO2020-3.pdf
13
  See Jacqueline Thomsen, Predicting 3-Month Disruption Over COVID-19,
Judiciary Requests $7 Million in Emergency Funds, Law.com (Mar. 17, 2020),
https://bit.ly/2xdNdEC.

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courthouse according to federal guidelines.” https://www.mied.uscourts.gov/.

      15.    These impacts of the COVID-19 virus on litigants and counsel continue

to evolve daily.

      16.    This extension will not prejudice any party.

      17.    Meanwhile, a 31-day extension will allow the parties and counsel to

focus on the “unique crisis . . . that jeopardi[z]es economic and social development

for us all.” H.E. Ambassador Mona Juul (President of the United Nations Economic

and    Social      Council),   Statement   on       COVID-19    (Mar.     18,   2020),

https://bit.ly/3bgxuDk. And it will also help the Court, which itself is operating

under unprecedented burdens, to focus on matters that genuinely require immediate

attention during this time of national emergency.

      18.    The parties agree to this extension.

      19.    The parties agree to revisit case deadlines in 21 days, after which either

party may individually or jointly seek additional extensions, as appropriate.

      WHEREFORE, based upon the Parties’ stipulation, and for good cause

shown, it is hereby ORDERED that due to the global pandemic, COVID-19, the

federal and State of Michigan emergency declarations, and the disruptions in

businesses and in courts, all future scheduling order dates are adjourned 31 days,

subject to further order of the Court:




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                                          Existing Date
                  Activity                                        New Date
                                         (Dkt. 60 at 16)
 Defendant’s Motions to Dismiss CAC     March 27, 2020        April 27, 2020
 Plaintiffs’ Opposition to MTD          May 26, 2020          June 26, 2020
 Defendant’s Reply to Opposition to MTD June 23, 2020         July 24, 2020
 Amend Pleadings without leave          July 21, 2020         August 21, 2020

      SO ORDERED.

Dated: March 27, 2020                      s/Sean F. Cox
                                           Sean F. Cox
                                           U. S. District Judge


STIPULATED AND AGREED TO BY:

By: /s/ Stephanie A. Douglas                            Dated: March 26, 2020
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